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EXHIBIT 1
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 2 of 33

Electronically Filed

4/30/2019 8:04 PM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Bobee Deglman, Deputy Clerk

JAMES, VERNON & WEEKS, P.A.
Wes S. Larsen, ISB #9134

1626 Lincoln Way

Coeur d'Alene, ID 83814
Telephone: (208) 667-0683
Facsimile: (208) 664-1684
wes@jvwlaw.net

Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE

STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAT

TERRY JENNINGS-MOLINE, Case No, ©V28-19-3220
Plaintiff,
COMPLAINT FOR DAMAGES
VS.
DEPUY ORTHOPAEDICS, INC.; DEPUY Fee Category: A.A.
PRODUCTS, INC.; DEPUY INTERNATIONAL Fee: $221.00
LIMITED; JOHNSON & JOHNSON COMPANY;
and JOHNSON & JOHNSON SERVICES, INC,,
Defendants.

 

 

Plaintiff TERRY JENNINGS-MOLINE, by and through her attorney, WES S. LARSEN
of the firm JAMES, VERNON AND WEEKS, P.A., alleges on information and belief against
DEPUY ORTHOPAEDICS, INC., DEPUY PRODUCTS, INC., DEPUY INTERNATIONAL
LIMITED, JOHNSON & JOHNSON COMPANY, and JOHNSON & JOHNSON SERVICES,

INC., (“Defendants”), the following:

Date Served: Lo 2 “AA
Company Served:_s\ * A

 

 

 

Meyer, Cynthia K.C.
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COMPLAINT FOR DAMAGES - Page 1 of 13

 

 
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I,
IDENTITY OF THE PARTIES, JURISDICTION, AND VENUE

1.1. Plaintiff TERRY JENNINGS-MOLINE: At all times relevant hereto, Plaintiff
TERRY JENNINGS-MOLINE was a resident of Kootenai County, State of Idaho. Plaintiff was
implanted with a Pinnacle hip implant device, which included an ALTRX polyethylene
acetabular liner, at Kootenai Medical Center in Coeur d’Alene, Idaho on or about January 12,
2016, which ALTRX acetabular liner later failed and caused injury to Plaintiff in or about February
2018. Plaintiff underwent revision surgery to remove and replace the ALTRX acetabular liner at
Kootenai Medical Center in Coeur d’Alene, Idaho on or about February 16, 2018.

1.2. Defendant  DEPUY ORTHOPAEDICS, INC.: Defendant DEPUY
ORTHOPAEDICS, INC. is, and at all times relevant to this Complaint was, an Indiana
Corporation with its principal place of business at 700 Orthopaedic Drive, Warsaw, Indiana
46581. CT Corporation System is listed on the Indiana Secretary of State’s website as DEPUY
ORTHOPAEDICS, INC.’s registered agent for service of process, with a service address of 150
West Market Street, Suite 800, Indianapolis, IN 46204. Defendant DEPUY ORTHOPAEDICS,
INC. is and was at all times relevant herein doing business in and/or having directed its activities
at Idaho, and specifically this judicial district.

1.3. At all relevant times to this Complaint, DEPUY ORTHOPAEDICS, INC.,
designed, manufactured, tested, marketed, distributed, and sold the Pinnacle ALTRX
polyethylene acetabular liner, either directly or indircctly, to customers throughout the United
States, including the Plaintiff, TERRY JENNINGS-MOLINE, in the city of Coeur d’Alene, the

state of Idaho.

 

COMPLAINT FOR DAMAGES - Page 2 of 13
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1.4. Defendant DEPUY PRODUCTS, INC.: Defendant DEPUY PRODUCTS, INC. is,
and at all times relevant to this Complaint was, an Indiana Corporation with its principal place of
business at 700 Orthopaedic Drive, Warsaw, Indiana 46581. CT Corporation System is listed on
the Indiana Secretary of State’s website as DEPUY PRODUCTS, INC.’s registered agent for
service of process, with a service address of 150 West Market Street, Suite 800, Indianapolis, IN
46204, Defendant DEPUY PRODUCTS, INC. is and was at all times relevant herein doing
business in and/or having directed its activities at Idaho, and specifically this judicial district.

1.5. At all relevant times to this Complaint, DEPUY PRODUCTS, INC., designed,
manufactured, tested, marketed, distributed, and sold the Pinnacle ALTRX polyethylene
acetabular liner, either directly or indirectly, to customers throughout the United States,
including the Plaintiff, TERRY JENNINGS-MOLINE, in the city of Coeur d’ Alene, the state of
Idaho.

1.6. Defendant DEPUY INTERNATIONAL LIMITED: Defendant DEPUY
INTERNATIONAL LIMITED is a corporation organized and existing pursuant to the laws of
the United Kingdom, with its principal place of business located at St. Anthony’s Road, Leeds,
West Yorkshire, LS11 8DT, United Kingdom. Defendant DEPUY INTERNATIONAL
LIMITED is and was at all times relevant herein doing business in and/or having directed its
activities at Idaho, and specifically this judicial district.

1.7. At all relevant times to this Complaint, DEPUY INTERNATIONAL LIMITED,
designed, manufactured, tested, marketed, distributed, and sold the Pinnacle ALTRX
polyethylene acetabular liner, either directly or indirectly, to customers throughout the United
States, including the Plaintiff, TERRY JENNINGS-MOLINE, in the city of Coeur d’Alene, the

state of Idaho.

 

COMPLAINT FOR DAMAGES - Page 3 of 13

 
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1.8. Defendant JOHNSON & JOHNSON COMPANY: Defendant JOHNSON &
JOHNSON COMPANY is, and at all times relevant to this Complaint was, 2 New Jersey
Corporation with its principal place of business at One Johnson & Johnson Plaza, New
Brunswick, New Jersey 08933, and was the parent company of DEPUY ORTHOPAEDICS,
INC, Johnson & Johnson is listed on the New Jersey Division of Revenue and Enterprise Services’
website as JOHNSON & JOHNSON COMPANY’s registered agent for service of process, with a
service address of One Johnson & Johnson Plaza, New Brunswick, New Jersey 08933. Defendant
JOHNSON & JOHNSON COMPANY is and was at all times relevant herein doing business in
and/or having directed its activities at Idaho, and specifically this judicial district.

1.9. At all relevant times to this Complaint, Defendant JOHNSON & JOHNSON
COMPANY, as the parent company of DePUY ORTHOPAEDICS, INC., designed,
manufactured, tested, advertised, marketed, distributed, and sold the Pinnacle ALTRX
polyethylene acetabular liner, either directly or indirectly, to customers throughout the United
States, including the Plaintiff, TERRY JENNINGS-MOLINE, in the city of Coeur d’Alene, the
state of Idaho.

1.10. Defendant JOHNSON & JOHNSON SERVICES, INC.: Defendant JOHNSON &
JOHNSON SERVICES, INC. is, and at all times relevant to this Complaint was, a New Jersey
Corporation with its principal place of business at One Johnson & Johnson Plaza, New
Brunswick, New Jersey 08933. Johnson & Johnson is listed on the New Jersey Division of
Revenue and Enterprise Services’ website as JOHNSON & JOHNSON SERVICES, INC.’s
registered agent for service of process, with a service address of One Johnson & Johnson Plaza,
New Brunswick, New Jersey 08933. Defendant JOHNSON & JOHNSON SERVICES, INC. is

and was at all times relevant herein doing business in and/or having directed its activities at

 

COMPLAINT FOR DAMAGES - Page 4 of 13

 

 
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Idaho, and specifically this judicial district.

1.11. At all relevant times to this Complaint, Defendant JOHNSON & JOHNSON
SERVICES, INC., designed, manufactured, tested, advertised, marketed, distributed, and sold
the Pinnacle ALTRX polyethylene acetabular liner, either directly or indirectly, to customers
throughout the United States, including the Plaintiff, TERRY JENNINGS-MOLINE, in the city
of Coeur d’ Alene, the state of Idaho.

1.12. At all times relevant herein, Defendants were the agents of each other, and in
doing the things alleged herein, each defendant was acting within the course and scope of its
agency and was subject to and under the supervision of its co-defendants.

1.13. Because Plaintiff received the implanted Pinnacle ALTRX polyethylene acetabular
liner at issue in Kootenai County, State of Idaho, and the ALTRX acetabular liner was subsequently
removed and replaced in Kootenai County, State of Idaho, the District Court of the First Judicial
District of the State of Idaho has jurisdiction over this cause. The jurisdictional amount established

for filing this action is satisfied. Venue is proper with this Court,

IL.
GENERAL ALLEGATIONS

2.1. Plaintiff incorporates by reference all other paragraphs of this Complaint as if set
forth herein.

2.2. Upon information and belief, the Defendants manufactured, sold, and placed into
the stream of commerce in the State of Idaho a hip implant polyethylene acetabular liner known
as the Pinnacle ALTRX polyethylene acetabular liner.

2.3. On or about January 12, 2016, Plaintiff underwent a left total hip arthroplasty

surgery at Kootenai Medical Center in Coeur d’Alene, Idaho, to correct left hip arthritis

 

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secondary to developmental hip dysplasia. The surgery was performed by Douglas McInnis,
M.D. During the surgery, a Pinnacle hip implant device was implanted, which included a
Pinnacle ALTRX polyethylene acetabular liner (REF: 1221-36-154; LOT: 699829),

24. The ALTRX polyethylene acetabular liner subsequently failed. In or about
February 2018, Plaintiff experienced a sudden painful sensation in her left hip and began
noticing an audible squeaking in her hip when she ambulated. Plaintiff therefore presented to
Douglas McInnis, M.D., who noted that on radiographs the femoral head was no longer centered
within the acetabular cavity. According to Plaintiffs medical records, Dr. McInnis felt that “this
represented either disassociation of the liner or fracture of the liner in conjunction with the
audible squeaking.”

2.5. Dr. Mclnnis performed emergent revision surgery at Kootenai Medical Center in
Coeur d’Alene, Idaho on or about February 16, 2018, during which he identified that the ALTRX
acetabular liner “had dissociated from the acetabular shell.” The doctor also noted that “(i]t
appeared that the liner had been dissociated for some time.” During the revision surgery, Dr.
McInnis replaced the failed ALTRX liner with a new liner within the existing Pinnacle hip
implant hardware.

2.6. At all times material hereto Defendants, and each of them, acted tortiously,

negligently, recklessly, and in a manner that gave rise to Plaintiffs claims and damages.

 

COMPLAINT FOR DAMAGES - Page 6 of 13
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PRODUCT LIABILITY, FAILURE TO WARN, BREACH OF WARRANTY, STRICT
LIABILITY, NEGLIGENCE, RECKLESSNESS, AND TORTIOUS CONDUCT OF THE
DEFENDANTS

3.1. Plaintiff incorporates by reference all other paragraphs of this Complaint as if set
forth herein.

3.2. At the time of the events described in the preceding paragraphs, the Defendants,

and each of them, were the manufacturers, developers, distributors, promoters, suppliers, and

sellers of the Pinnacle ALTRX polyethylene acetabular liner product at issue. At all times
material hereto, the product was defective and was unreasonably dangerous to consumers,
including the time at which it left the hands of the Defendants and entered the stream of
commerce,

3.3. The Pinnacle ALTRX polyethylene acetabular liner product is defective in its
design in that it is not reasonably fit, suitable, or safe for its intended purpose and/or its
foreseeable risks exceeded the benefits associated with its design.

3.4. The defective condition of the Pinnacle ALTRX polyethylene acetabular liner
product renders it unreasonably dangerous, and the product was in this defective condition at the
time it left the hands of the Defendants. The product was expected to, and did, reach consumers,
including Plaintiff, without substantial change in the condition in which it was designed,
manufactured, labeled, sold, distributed, marketed, promoted, supplied, and otherwise released
into the stream of commerce.

3.5. The Defendants, and each of them, are liable to Plaintiff pursuant to the law of the

State of Idaho, mcluding Idaho Code § 6-1401 ef, seg., for designing, manufacturing, and placing

 

COMPLAINT FOR DAMAGES - Page 7 of 13
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into the stream of commerce a defective product which was unreasonably dangerous for its
reasonably foreseeable uses at the time it left the control of said Defendants.

3.6. Defendants, and each of them, are strictly liable to Plaintiff for designing,
manufacturing, and placing into the stream of commerce a defective product, which was
unreasonably dangerous and unsuitable for its reasonably foreseeable uses at the time it left the
control of the Defendants because of the aforementioned defects pursuant to §402 (A) of the
Restatement of Torts, 2", and Idaho Code § 6-140! et. seg.

3.7. The Defendants, and each of them, developed, designed, tested, manufactured,
inspected, labeled, distributed marketed, promoted, sold, and otherwise released into the stream
of commerce the Pinnacle ALTRX polyethylene acetabular liner product mentioned above, and
in the course of same, directly advertised or marketed the product to businesses, physicians,
consumers, or persons responsible for consumers, and therefore had a duty to warn of the risks
associated with the use of the product.

3.8. The Pinnacle ALTRX polyethylene acetabular liner product was under the
exclusive control of the Defendants as aforesaid, and was unaccompanied by appropriate
warnings and/or instruction for use.

3.9. The Defendants, and each of them, have failed to timely and reasonably warn of
material facts regarding the safety and efficacy of the Pinnacle ALTRX polyethylene acetabular
liner product so that no business, physician, and/or consumer, including Plaintiff, would have
used the ALTRX liner had those facts been made known to such consumers.

3.10. The Pinnacle ALTRX polyethylene acetabular liner product, which was

developed, designed, tested, manufactured, inspected, labeled, distributed, marketed, promoted,

 

COMPLAINT FOR DAMAGES - Page 8 of 13
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sold, and otherwise released into the stream of commerce by the Defendants, was defective due
to inadequate post-marketing warnings and/or instruction.

3.11. At the time of the design, manufacture, distribution, or sale of the Pinnacle
ALTRX polyethylene acetabular liner product described above, the Defendants, and each of
them, warranted, expressly and impliedly, that the product was safe to be used in the manner and
for the purpose of which the product was designed, manufactured, distributed, or sold; and said
warrantics were breached by the Defendants, and each of thern, in that said product was not safe,
bul was defective and unreasonably dangerous for the use and purposes for which said product
was respectively designed, manufactured, distributed, sold, leased, or loaned.

3.12, As a direct and proximate result of the defective and unreasonably dangerous
condition of the product, and as a direct consequence of the breach of warranties by said
Defendants, the Pinnacle ALTRX polyethylene acetabular liner product failed, thereby
necessitating additional medical treatment and prolonged recovery.

3.13. At all times material hereto, the Defendants, and each of them, had certain duties
imposed upon them by industry standards, statutes, regulations, and common law which each
defendant owed to Plaintiff; and said Defendants did negligently, carelessly, tortiously, and.
recklessly breach said duties, including but not limited to:

3.13.A. Designing, manufacturing, distributing, and/or selling a defective product;
3.13.B. Failing to properly warn of the dangers of the product;

3.13.C. Failing to provide adequate instructions regarding implantation and/or use
of the product;

3.13.D. Failing to follow industry standards; and

3,13.E. Failing to conform the product to industry standards.

 

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3.14. Further, the Defendants acted in concert by pursuing a common plan or design,
namely, that of manufacturing, developing, distributing, promoting, supplying, and selling the
Pinnacle ALTRX polyethylene acetabular liner product at issue, which resulted in the
commission of a reckless tortious act against the Plaintiff.

3.15. Asa direct and proximate result of each Defendant’s respective product liability,
strict liability, failure to warn, breach of warranty, negligence, recklessness, fraud,
misrepresentation, tortious conduct, acts, and omissions alleged herein, Plaintiff TERRY
IENNINGS-MOLINE was seriously injured and damaged. Although medical attention and
supportive remedies have been resorted to, said injuries, together with pain, discomfort, and
limitation of movement, prevail and will continue to prevail for an indefinite time into the future.
it is impossible at this time to fix the full nature, extent, severity, and duration of said injuries,
but they are alleged to be permanent, progressive and disabling. Plaintiff has incurred and will
likely continue to incur damages. These damages include medical expenses, lost wages, and
other expenses to be proven at the time of trial, all to said Plaintiff's general damages in an
amount now unknown. These special and general damages include physical injury, diminished
ability to function in daily life, disfigurement, anxiety, frustration, worry, concern, and general

emotional upset.

IV.
FRAUD AND MISREPRESENTATION BY THE DEFENDANTS
4.1. Plaintiff incorporates by reference all other paragraphs of this Complaint as if set
forth herein, and further alleges as follows:

4.2. The Defendants, and each of them, made material representations of fact with

regards to the safe and proper use of the Pinnacle ALTRX polyethylene acetabular liner product.

 

COMPLAINT FOR DAMAGES - Page 10 of 13
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 12 of 33

These representations specifically include representations by each defendant that said product
was safe, and sufficient for its prescribed uses.

4.3. Said representations made by each defendant were false.

4.4. The Defendants, and each of them, made these representations with the
knowledge of their falsity or in reckless ignorance of their truth.

4.5. Plaintiff was ignorant of the falsity of said representations.

4.6. The Defendants, and each of them, intended that thcir respective representations
be acted upon by Plaintiff and others, and acted upon in a manner reasonably contemplated.

4.7. Plaintiff and others relied on the respective representations made by the
Defendants with regards to the Pinnacle ALTRX polyethylene acetabular liner product.

4.8. Plaintiff and others had the right to rely upon said representations made by the
Defendants.

4.9, Said representations made by the Defendants with regards to the safe and proper
use of the Pinnacle ALTRX polyethylene acetabular liner product and the reliance upon the same
by the Plaintiff were a proximate cause of injuries to Plaintiff and the damages sought herein by

the Plaintiff.

V.
NEGLIGENCE, NEGLIGENCE PER SE, RECKLESSNESS, AND TORTIOUS
CONDUCT OF ALL DEFENDANTS
5,1. Plaintiff incorporates by reference all other paragraphs of this Complaint as if set

forth herein, and further alleges as follows:

 

COMPLAINT FOR DAMAGES - Page 11 of 13
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5.2. Defendants, and each of them, are liable, accountable, and answerable for their
negligence, negligence per se, recklessness, and tortious conduct in the following respects,
among others, singularly or in combination, as more particularly set forth herein.

5.3. Each and every one of the Defendants owed a duty of care to Plaintiff and others
who utilized the Pinnacle ALTRX polyethylene acetabular liner product at issue.

5.4. Defendants, and each of them, breached their duty to Plaintiff by failing to
properly design, manufacture, test, license, and label the product.

5.5. Further, the Defendants acted in concert by pursuing a common plan or design,
namely, that of manufacturing, developing, distributing, promoting, supplying, and selling the
Pinnacle ALTRX polyethylene acetabular liner product at issue, which resulted in the
commission of a reckless tortious act against the Plaintiff.

5.6. As a direct and proximate result of each Defendant’s negligence, recklessness,
negligence, and negligence per se, Plaintiff was seriously injured and damaged. Although
medical attention and supportive remedies have been resorted to, said injuries, together with
pain, discomfort, and limitation of movement, prevail and will continue to prevail for an
indefinite time into the future. It is impossible at this time to fix the full nature, extent, severity,
and duration of said injuries, but they are alleged to be permanent, progressive, and disabling.
Plaintiff has incurred and will likely continue to incur damages. These damages include medical
expenses, lost wages, and other expenses to be proved at the time of trial, all to said Plaintiff's
general damages in an amount now unknown. These special and general damages include
physical injury, diminished ability to function in daily life, disfigurement, anxiety, frustration,

worry, concern, and general emotional upset.

 

COMPLAINT FOR DAMAGES - Page 12 of 13
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 14 of 33

 

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against each Defendant, jointly and

severally, in an amount that will sufficiently compensate Plaintiff for damages received, along

with reasonable costs, interest, attorney fees, and such other relief as the Court may deem

appropriate.

DATED this 30th day of April, 2019.

JAMES, VERNON & WEEKS, P.A.

fs/ Wes S. Larsen

Wes S. Larsen, ISB No. #9134

1626 Lincoln Way

Coeur d’Alene, Idaho 83814

Telephone: (208) 667-0683

Facsimile: (208) 664-1684

E-mail: wes@jvwlaw.net

Attorney for Plaintiff Terry Jennings-Moline

 

COMPLAINT FOR DAMAGES - Page 13 of 13

 
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 15 of 33

Electronically Filed

4/30/2019 8:04 PM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Bobee Degiman, Deputy Clerk

JAMES, VERNON & WEEKS, P.A.
Wes S. Larsen, ISB #9134

1626 Lincoln Way

Coeur d'Alene, ID 83814

Telephone: (208) 667-0683
Facsimile: (208) 664-1684

wes@jvwlaw.net

Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE

STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI
TERRY JENNINGS-MOLINE, Case No. CV28-19-3220

Plaintiff,
SUMMONS

Vs.
DEPUY ORTHOPAEDICS, INC.; DEPUY
PRODUCTS, INC.; DEPUY INTERNATIONAL

LIMITED; JOHNSON & JOHNSON COMPANY;
and JOHNSON & JOHNSON SERVICES, INC.,

Defendants.

 

 

NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF(S). THE
COURT MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER NOTICE
UNLESS YOU RESPOND WITHIN TWENTY-ONE (21) DAYS. READ THE INFORMATION

BELOW.
TO: DEPUY ORTHOPAEDICS, INC.

You are hereby notified that in order to defend this lawsuit, an appropriate written response
must be filed with the above designated court within twenty-one (21) days after service of this
Summons on you. If you fail to so respond the court may enter judgment against you as demanded
by the Plaintiff(s) in the Complaint.

A copy of the Complaint is served with this Summons. If you wish to seek the advice or
representation by an attorney in this matter, you should do so promptly so that your written
response, if any, may be filed in time and other legal rights protected.

SUMMONS - Page 1
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 16 of 33

An appropriate written response requires compliance with Rule 10(a)(1) and other Idaho
Rules of Civil Procedure and shall also include:

1. The title and number of this case.
2. If your response is an Answer to the Complaint, it must contain
admissions or denials of the separate allegations of the Complaint and other

defenses you may claim.

3, Your signature, mailing address and telephone number, of the
signature, mailing address, and telephone number of your attorney.

4, Proof of mailing or delivery of a copy of your response to Plaintiffs
attorney, as designated above.

To determine whether you must pay a filing fee with your response, contact
the Clerk of the above-named court.

WITNESS my hand and the seal of said District Court this 6 day of May, 2019.

IDAHO DISTRICT COURT CLERK

 

COUNTY OF KOOTENAI
Nitty
Foam Bape Dafprors
F CO XS By:
©\ court /2:

SUMMONS - Page 2
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4/30/2019 8:04 PM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Bobee Deglman, Deputy Clerk

JAMES, VERNON & WEEKS, P.A.
Wes S. Larsen, ISB #9134

1626 Lincoln Way

Coeur d'Alene, ID 83814

Telephone: (208) 667-0683
Facsimile: (208) 664-1684

wes@ivwlaw.net

Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE

STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI
TERRY JENNINGS-MOLINE, Case No, CV¥28-19-3220

Plaintiff,
SUMMONS
vs,

DEPUY ORTHOPAEDICS, INC.; DEPUY
PRODUCTS, INC.; DEPUY INTERNATIONAL
LIMITED; JOHNSON & JOHNSON COMPANY;
and JOHNSON & JOHNSON SERVICES, INC.,

Defendants.

 

 

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UNLESS YOU RESPOND WITHIN TWENTY-ONE (21) DAYS. READ THE INFORMATION
BELOW.

TO: DEPUY PRODUCTS, INC.

You are hereby notified that in order to defend this lawsuit, an appropriate written response
must be filed with the above designated court within twenty-one (21) days after service of this
Summons on you. If you fail to so respond the court may enter judgment against you as demanded
by the Plaintiff(s) in the Complaint.

A copy of the Complaint is served with this Summons. If you wish to seek the advice or

representation by an attorney in this matter, you should do so promptly so that your written
response, if any, may be filed in time and other legal rights protected.

SUMMONS - Page 1
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 18 of 33

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1. The title and number of this case.
2. If your response is an Answer to the Complaint, it must contain
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defenses you may claim.

3, Your signature, mailing address and telephone number, of the
signature, mailing address, and telephone number of your attorney.

4, Proof of mailing or delivery of a copy of your response to Plaintiff's
attorney, as designated above.

To determine whether you must pay a filing fee with your response, contact
the Clerk of the above-named court.

WITNESS my hand and the seal of said District Court this 6 day of May, 2019.

IDAHO DISTRICT COURT CLERK
COUNTY OF KOOTENAI

 

 

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Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 19 of 33

Electronically Filed

4/30/2019 8:04 PM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Bobee Deglman, Deputy Clerk

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Wes S. Larsen, ISB #9134

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Facsimile: (208) 664-1684
wes@jvwlaw.net

Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE

STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI

TERRY JENNINGS-MOLINE, Case No, CV28-19-3220

Plaintiff,
SUMMONS

vs.

DEPUY ORTHOPAEDICS, INC.; DEPUY
PRODUCTS, INC.; DEPUY INTERNATIONAL
LIMITED; JOHNSON & JOHNSON COMPANY;
and JOHNSON & JOHNSON SERVICES, INC.,

Defendants.

 

 

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BELOW.

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must be filed with the above designated court within twenty-one (21) days after service of this
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A copy of the Complaint is served with this Summons. If you wish to seek the advice or

Tepresentation by an attorney in this matter, you should do so promptly so that your written
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SUMMONS - Page 1
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 20 of 33

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admissions or denials of the separate allegations of the Complaint and other

defenses you may claim.

3, Your signature, mailing address and telephone number, of the
signature, mailing address, and telephone number of your attorney.

4, Proof of mailing or delivery of a copy of your response to Plaintiff's
attorney, as designated above.

To determine whether you must pay a filing fee with your response, contact
the Clerk of the above-named court.

6
WITNESS my hand and the seal of said District Court this day of May, 2019.

IDAHO DISTRICT COURT CLERK
COUNTY OF KOOTENAT

 

 

SUMMONS - Page 2
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 21 of 33

Electronically Filed

4/30/2019 8:04 PM

First Judicial District, Kootenai County
dim Brannon, Clerk of the Court

By: Bobee Deglman, Deputy Clerk

JAMES, VERNON & WEEKS, P.A.
Wes S. Larsen, ISB #9134

1626 Lincoln Way

Coeur d'Alene, ID 83814

Telephone: (208) 667-0683
Facsimile: (208) 664-1684
wes@ivwlaw.net

 

Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE
STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI
TERRY JENNINGS-MOLINE, Case No. CV28-19-3220

Plaintiff,

SUMMONS
vs.

DEPUY ORTHOPAEDICS, INC.; DEPUY
PRODUCTS, INC.; DEPUY INTERNATIONAL
LIMITED; JOHNSON & JOHNSON COMPANY;
and JOHNSON & JOHNSON SERVICES, INC,,

Defendants.

 

 

NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF(S), THE
COURT MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER NOTICE
UNLESS YOU RESPOND WITHIN TWENTY-ONE (21) DAYS. READ THE INFORMATION
BELOW.

TO: JOHNSON & JOHNSON COMPANY

You are hereby notified that in order to defend this lawsuit, an appropriate written response
must be filed with the above designated court within twenty-one (21) days after service of this
Summons on you. If you fail to so respond the court may enter judgment against you as demanded
by the Plaintiff(s) in the Complaint.

A copy of the Complaint is served with this Summons, If you wish to seek the advice or

representation by an attorney in this matter, you should do so promptly so that your written
response, if any, may be filed in time and other legal rights protected.

SUMMONS - Page 1

 

 
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 22 of 33

An appropriate written response requires compliance with Rule 10(a)(1) and other Idaho

Rules of Civil Procedure and shall also include
1. The title and number of this case
2. lf your response is an Answer to the Complaint, it must contain
admissions or denials of the separate allegations of the Complaint and other
defenses you may claim

Your signature, mailing address and telephone number, of the

3. :
signature, mailing address, and telephone number of your attorney
Proof of mailing or delivery of a copy of your response to Plaintiff's

4,
attorney, as designated above
To determine whether you must pay a filing fee with your response, contact

the Clerk of the above-named court
day of May, 2019.

WITNESS my hand and the seal of said District Court this

IDAHO DISTRICT COURT CLERK
COUNTY OF KOOTENAI

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SUMMONS - Page 2

 
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 23 of 33

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First Judicial District, Kootanal County
Jim Brannon, Clerk of the Court

By: Bobee Degiman, Deputy Clerk

JAMES, VERNON & WEEKS, P.A.
Wes §S. Larsen, ISB #9134

1626 Lincoln Way

Coeur d'Alene, ID 83814

Telephone: (208) 667-0683
Facsimile: (208) 664-1684
wes@ivwlaw.net

Attorneys for Plaintiff

 

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE
STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI
TERRY JENNINGS-MOLINE, Case No, ©V28-19-3220

Plaintiff,
SUMMONS
VS.

DEPUY ORTHOPAEDICS, INC.; DEPUY
PRODUCTS, INC.; DEPUY INTERNATIONAL
LIMITED; JOHNSON & JOHNSON COMPANY;
and JOHNSON & JOHNSON SERVICES, INC.,

Defendants.

 

 

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TO: JOHNSON & JOHNSON SERVICES, INC.

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SUMMONS ~ Page 1
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 24 of 33

 

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1. The title and number of this case.

2. If your response is an Answer to the Complaint, it must contain
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3, Your signature, mailing address and telephone number, of the
signature, mailing address, and telephone number of your attorney.

4, Proof of mailing or delivery of a copy of your response to Plaintiff's
attorney, as designated above.

To determine whether you must pay a filing fee with your response, contact
the Clerk of the above-named court,

WITNESS my hand and the seal of said District Court this © __ day of May, 2019,

IDAHO DISTRICT COURT CLERK
COUNTY OF KOOTENAI

 

 

SUMMONS - Page 2
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 25 of 33

Electronically Filed

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First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Bobee Deglman, Deputy Clerk

JAMES, VERNON & WEEKS, P.A.

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Wes S. Larsen, ISB #9134 Yate Served: le

1626 Lincoln Way m. Sanyal

Coeur d'Alene, ID 83814 vompany Servet

Telephone: (208) 667-0683

Facsimile: (208) 664-1684 (alr Svcs

wes@jvwlaw.net Foe at) oe | ,o1 8
Personal Service KMG

Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE

STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI

TERRY JENNINGS-MOLINE, Case No. CV28-19-3220
Plaintiff,
COMPLAINT FOR DAMAGES
vs.
DEPUY ORTHOPAEDICS, INC.; DEPUY Fee Category: AVA.
PRODUCTS, INC.; DEPUY INTERNATIONAL Fee: $221.00
LIMITED; JOHNSON & JOHNSON COMPANY;
and JOHNSON & JOHNSON SERVICES, INC.,
Defendants.

 

 

Plaintiff TERRY JENNINGS-MOLINE, by and through her attorney, WES S. LARSEN
of the firm JAMES, VERNON AND WEEKS, P.A., alleges on information and belief against
DEPUY ORTHOPAEDICS, INC., DEPUY PRODUCTS, INC., DEPUY INTERNATIONAL
LIMITED, JOHNSON & JOHNSON COMPANY, and JOHNSON & JOHNSON SERVICES,

INC., (“Defendants”), the following:

Meyer, Cynthia K.C.

 

COMPLAINT FOR DAMAGES - Page 1 of 13
Case 2:19-cv-00235-BLW Document1-1 Filed 06/25/19 Page 26 of 33

Electronically Filed
- 6/19/2019 10:28 AM
First Judiciat District, Kootenai County
Jim Brannon, Clerk of the Court
By: Elizabeth Floden, Deputy Clerk

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE STATE OF IDAHO
IN AND FOR THE COUNTY OF KOOTENAI

TERRY JENNINGS-MOLINE, Plaintiff(s) —- Petitioner(s)
V. CASE NO.: CV28-19-3220
DEPUTY ORTHOPAEDICS, INC. ET AL., Defendant(s) — Respondent(s)

 

STATE OF NEW JERSEY
COUNTY OF ESSEX 8S.:

Anabella Pinto, the undersigned, being duly sworn, deposes and says that | was at the time of service over the
age of 18 years and not a party to this action.

On 6/5/2019 at 2:60 PM, | served a true copy of a SUMMONS, COMPLAINT FOR DAMAGES upon JOHNSON
& JOHNSON COMPANY at ONE JOHNSON & JOHNSON PLAZA, NEW BRUNSWICK, NJ 08933 in the
manner indicated below:

Corporation By delivering a true copy of each to MICHELE BACORIN personally.

[ X ] Deponent knew said corporation served to be the corporation described as the named
reciplent and knew said individual! to be the PARALEGAL thereof, and an authorized person
to accept service of process.

 

 

 

 

 

 

Approximate Female White Grey 65 N/A NIA Blue Eyes
Description
of Receipt Sex Skin Hair Color Age Height Weight Other
Anabela Pinto
Sworn to before me this PO BOX 25066
G day of Jug, 20(4. Newark, NJ 07102
\) 800-637-1805
Cy “f
Notary Public
Alexander Vays, Esq.
she ee
State of New
New Jersey Attorney ID TD 009072014

 

 

 
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 27 of 33

Electronically Filed

6/19/2019 10:28 AM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Elizabeth Floden, Deputy Clerk

IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE STATE OF IDAHO
IN AND FOR THE COUNTY OF KOOTENAI

TERRY JENNINGS-MOLINE, Plaintiff(s) - Petitioner{s)
Vv, CASE NO.: CV28-19-3220
DEPUTY ORTHOPAEDICS, INC. ET AL., Defendant(s) - Respondent(s)

 

STATE OF NEW JERSEY
COUNTY OF ESSEX $s.

Anabella Pinto, the undersigned, being duly sworn, deposes and says that ! was at the time of service over the
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manner indicated below:

Corporation By delivering a true copy of each to MICHELE BACORIN personally.

[X] Deponent knew said corporation served to be the corporation described as the named
recipient and knew said individual to be the PARALEGAL thereof, and an authorized person
to accept service of process.

 

 

 

Approximate Female White Grey 65 NIA NIA Biue Eyes
Description
of Receipt Sex Skin Hair Color Age Height Weight Other

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nabela Pinto

Sworn to before me this PO BOX 25066
day of Jung, 2014. Newark, NJ 07102

800-637-1805
(hy Venu

Notary Public |

 

Alexander Vays, Esq.
Notary Public
State of New Jersey
New Jerscy Attorney ID 068672014

 

 

 
Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 28 of 33

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6/19/2019 10:28 AM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Elizabeth Floden, Deputy Clerk

AFFIDAVIT OF SERVICE

 

State of Idaho

Case Number: CV28-19-3220
Plaintiff:

TERRY JENNINGS-MOLINE
Vs.

Defendant:

County of Kootenai District Court

 

 

 

 

 

 

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DEPUY ORTHOPAEDICS, INC.; DEPUY PRODUCTS, iNC.; DEPUY
INTERNATIONAL LIMITED; JOHNSON & JOHNSON COMPANY; and

JOHNSON & JOHNSON SERVICES, INC.,

For:

Wes S. Larsen

JAMES, VERNON & WEEKS, P.A.
1626 Lincoln Way

Coeur D'Alene, ID 83814

Received by TS! Legal on the 11th day of June, 2019 at 1:21 pm to be served on DEPUY ORTHOPAEDICS, INC. o/
o CT Corporation, 150 W. Market Street, Sulte 800, Indianapolis, IN 46404.

|, Carly Griffin, being duly sworn, depose and say that on the 12th day of June, 2019 at 10:55 am, 1:

served a CORPORATION by delivering a true copy of the Summons and Complaint for Damages to: Patrick
Jones as Registered Agent for DEPUY ORTHOPAEDICS, INC., at the address of: 150 W. Market Street, Suite
800, Indianapolis, IN 46404, and informed sald person of the contents therein, in compliance with state statutes,

Description of Person Served: Age: 40, Sex: M, Race/Skin Color: Caucasian, Height: 5'7", Weight: 140, Hair: Black,

Glasses: N

| certify that | am over the age of 18, have no interest in the above action and have proper authority in the jurisdiction
in which service was made. | declare that the facts set forth in the foregoing Affidavit of Service are true and correct.

State of In drona
County of M Avion
Subscribed to,before me on the | }

 

day of LnA , 2019,
by the affiant whois personally known to me.
—
WA” nd, .
NOTARY PUBLIC

 
 

  
     

TSI Legal
P.O. Box 1730
Tampa, FL 336
(813) 282-0074

Our Job Serial Number: TPL-2019111430
Ref: Jennings-Moline v. Depuy

KATE VICTORIA PETRI Copyrigif © 1992-2019 Database Servicas, inc. - Process Servar's Toolbox V8.1¢

Notary Public - Seal
Maron County ~ State of indiana
Commission Number 708041
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Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 29 of 33

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6/19/2019 10:28 AM

First Judicial District, Kootenai County
Jim Brannon, Clerk of the Court

By: Elizabeth Floden, Deputy Clerk

AFFIDAVIT OF SERVICE

State of Idaho County of Kootenai District Court

Case Number: CV28-19-3220
TPL201911

TERRY JENNINGS-MOLINE 19111426
vs.

 

 

 

 

 

 

 

. Defendant:
DEPUY ORTHOPAEDICS, INC.; DEPUY PRODUCTS, INC.; DEPUY
INTERNATIONAL LIMITED; JOHNSON & JOHNSON COMPANY; and
JOHNSON & JOHNSON SERVICES, INC.,

For:

Wes S. Larsen

JAMES, VERNON & WEEKS, P.A.
1626 Lincoin Way

Coeur D'Alene, ID 83814

Received by TS! Legal on the 11th day of June, 2019 at 1:21 pm to be served on DEPUY PRODUCTS, INC. c/o CT
Corporation, 150 W. Market Street, Suite 800, Indianapolis, IN 46404.

1, Carly Griffin, being duly sworn, depose and say that on the 12th day of June, 2019 at 10:58 am, |:

served a CORPORATION by delivering a true copy of the Summons and Complaint for Damages to: Patrick
Jones as Registered Agent for DEPUY PRODUCTS, INC., at the address of: 150 W. Market Street, Sulte 800,
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Description of Person Served: Age: 40, Sex: M, Race/Skin Color: Caucasian, Height: 5'7", Weight: 140, Hair: Black,
Glasses: N

| certify that | am over the age of 18, have no interest in the above action and have proper authority in the jurisdiction
in which service was made. ! declare that the facts set forth in the foregoing Affidavit of Service are true and correct.

State of Andring (OPN —

. Canty Griffin
County of _ MAVion
TSI Legal
Subscribed to before me on the \ 2 P.O. Box 173019
day of J vn , 2019,

 

Tampa, FL 33672

by the affiant Cp known to me. (813) 282-0074
Vat PI Our Job Serial Number: TPL-2019111426

NOTARY PUBLIC Ref: Jennings-Moline v. Depuy

 
  

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Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 30 of 33 Page | of 4

Case Information

    
 

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Defendant.

Case Number
CV28- 19-3220

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04/30/2019

Party

Plainiti

Jennings-Moline, Terry

DOB

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Defendant

DePuy Orthopaedics, Inc.

Defendant
DePuy Products, Inc.

Delendant

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-Vicdine Plainilf, vs. DePuy Ort
ohnson & Johnson Cornpany, Joh

 

Court

Kootenai County District
Court

Case Tyoe

AA- All Initial District Court
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Ses, Inc., DePuy
& Johneon Services

  

Judicial Offieer
Meyer, Cynthia K.C.

Oase olatus

Active - Pending

Active Allorrieys ¥
Lead Attorney
Larsen, Wes Scott
Retained

6/25/2019
Details Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 31 of 33 Page 2 of 4

DePuy International Limited

 

Delancdant
Johnson & Johnson Company

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Johnson & Johnson Services, Inc.

Events and Hearings

 

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DePuy Orthopaedics, Inc.

 

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DePuy Products, inc.

04/30/2019 Summons

 

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DePuy International Limited

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Johnson & Johnson Company

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Johnson & Johnson Services, Inc.

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Johnson & Johnson Services 06/05/19

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- Depuy Orthopaedics 06/12/19

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Comment
- Depuy Products 06/12/19

Financial

Jannirkis-Moline, Terry
Total Financial Assessment
Total Payments and Credits

5/6/2019 Transaction
Assessment

5/6/2019 EFile Payment

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Page 32 of 33 Page 3 of 4

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6/25/2019
Details Case 2:19-cv-00235-BLW Document 1-1 Filed 06/25/19 Page 33 of 33 Page 4 of 4

Receipt # 16631- Jennings-Moline,
2019-R28 Terry

https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=0 6/25/2019
